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  Deisy Jaimes, et al., v. Cook County, et al., Case No. 17-cv-8291
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    Counsel,



    Attached please find Defendants’ Response to Plaintiffs’ Second Set of Requests for Production to the Cook County
    Defendants. The documents referenced in the Response will be sent via NetDocs secured link. The password to
    download the documents is Jaimes8291. Please note these documents are to be held Confidential pursuant to the
    protective order in this matter.



    Best,

    Dan




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           Jaimes - Cook Co Defs' Response to Pls' 2nd set of Requests for Production.pdf
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